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                                IN RE: DEEPWATER HORIZON
                                           MDL No. 2179

JAMES PARKERSON ROY                                          STEPHEN J. HERM AN
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                                          October 17, 2011

                                               BY HAND

Honorable Carl J. Barbier
United States District Court Judge
Eastern District of Louisiana
500 Poydras Street, Room C-268
New Orleans, LA 70130

          Re: Submission of Exhibits Relevant to Preliminary Evidentiary Determinations

Dear Judge Barbier,

        In connection with the letter briefs submitted to the Court relating to various evidentiary
issues raised in association with the “List of 300", please find enclosed a CD containing the
following Trial Exhibits and other documents which may be relevant to the Court’s consideration:

               •      TRIAL EXHIBIT 00001;
               •      TRIAL EXHIBIT 00002;
               •      TRIAL EXHIBIT 00986;
               •      TRIAL EXHIBIT 01057;
               •      TRIAL EXHIBIT 01070;
               •      TRIAL EXHIBIT 01084;
               •      TRIAL EXHIBIT 01987;
               •      TRIAL EXHIBIT 02032
               •      TRIAL EXHIBIT 02968;
               •      TRIAL EXHIBIT 03419;
               •      TRIAL EXHIBIT 03814;
               •      TRIAL EXHIBIT 03820;
               •      TRIAL EXHIBIT 03824;
               •      TRIAL EXHIBIT 03861;
               •      TRIAL EXHIBIT 03866;
               •      TRIAL EXHIBIT 04244;
               •      TRIAL EXHIBIT 04479;
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              •       TRIAL EXHIBIT 04572;
              •       TRIAL EXHIBIT 04576;
              •       TRIAL EXHIBIT 04842;
              •       TRIAL EXHIBIT 06001;
              •       TRIAL EXHIBIT 06010;
              •       TRIAL EXHIBIT 06012;
              •       TRIAL EXHIBIT 06028;
              •       TRIAL EXHIBIT 06249;
              •       TRIAL EXHIBIT 06250;
              •       TRIAL EXHIBIT 06253;
              •       TRIAL EXHIBIT 06254;
              •       TRIAL EXHIBIT 06300;
              •       TRIAL EXHIBIT 20007;
              •       TRIAL EXHIBIT 20012;
              •       TRIAL EXHIBIT 20013;
              •       FONTENOT DEPOSITION , pp.121-129;
              •       LUCAS DEPOSITION , pp. 40, 77, 303-306;
              •       BP GROUP DEFINED PRACTICE GDP 4.4-0002 [Trial Exhibit 01742];
              •       The U.S. COAST GUARD REPORT ; and,
              •       The BOEMRE REPORT .


       As always, we appreciate the Court’s time and consideration in this matter.


                                                           Respectfully submitted,

                                                           JAMES PARKERSON ROY
                                                           STEPHEN J. HERMAN
                                                           Plaintiffs’ Liaison Counsel



Enclosures
cc: Hon. Sally Shushan (via E-Mail)
    DEFENSE LIAISON COUNSEL (via E-Mail)
    Mike Underhill, Esq. (via E-Mail)
    Hon. Luther Strange (via E-Mail)
    Ben Allums (via E-Mail)
    Mike O’Keefe (via E-Mail)




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